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16   America, Inc., and Oracle International
     Corporation
17

18                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
19

20                                                 Case No. 2:10-cv-00106-LRH-PAL
     ORACLE USA, INC., a Colorado corporation;
21   ORACLE AMERICA, INC. a Delaware               PLAINTIFFS ORACLE’S MOTION TO
     corporation; and ORACLE INTERNATIONAL         SEAL THEIR TRIAL BRIEF
22   CORPORATION, a California corporation,
                                                   Judge: Hon. Larry R. Hicks
23                 Plaintiffs,
            v.
24
     RIMINI STREET, INC., a Nevada corporation;
25   SETH RAVIN, an individual,

26                  Defendants.

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                                                                      Case No. 2:10-cv-00106-LRH-PAL

                    PLAINTIFFS ORACLE’S MOTION TO SEAL THEIR TRIAL BRIEF
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 1          Pursuant to the Stipulated Protective Order governing confidentiality of documents

 2   entered by the Court on May 21, 2010, Dkt. 55 (“Protective Order”), and Rules 5.2 and 26(c) of

 3   the Federal Rules of Civil Procedure, Plaintiffs Oracle USA, Inc., Oracle America, Inc., and

 4   Oracle International Corporation (together “Oracle” or “Plaintiffs”) respectfully request that the

 5   Court order the Clerk of the Court to file under seal an unredacted copy of Oracle’s Oracle’s

 6   Trial Brief. An unredacted copy of the Trial Brief was lodged under seal with the Court on

 7   September 9, 2015.

 8          Sealing of the Trial Brief is requested because the redacted portions of it contain

 9   information that Rimini Street, Inc. and Seth Ravin (collectively the “Defendants”) have

10   designated as “Confidential Information” and “Highly Confidential Information – Attorneys’

11   Eyes Only” under the terms of the Protective Order. The Protective Order states, “Counsel for

12   any Designating Party may designate any Discovery Material as ‘Confidential Information’ and

13   ‘Highly Confidential Information – Attorneys’ Eyes Only’ under the terms of this Protective

14   Order only if such counsel in good faith believes that such Discovery Material contains such

15   information and is subject to protection under Federal Rule of Civil Procedure 26(c). The

16   designation by any Designating Party of any Discovery Material as ‘Confidential Information’ or

17   ‘Highly Confidential Information – Attorneys’ Eyes Only’ shall constitute a representation that

18   an attorney for the Designating Party reasonably believes there is a valid basis for such

19   designation.” Protective Order ¶ 2.

20          For sealing requests relating to non-dispositive motions, such as this, the presumption of

21   public access to court filings may be overcome by a showing of good cause under Rule 26(c).

22   See Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010); Kamakana v. Honolulu,

23   447 F.3d 1172, 1179 (9th Cir. 2006). Defendants have identified the information redacted in the

24   Trial Brief as Confidential and Highly Confidential, and therefore Defendants have represented

25   that good cause exists for sealing those portions of the documents. This is a sufficient showing

26   of good cause to permit a sealing order on a non-dispositive motion. See, e.g., Pac. Gas & Elec.

27   Co. v. Lynch, 216 F. Supp. 2d 1016, 1027 (N.D. Cal. 2002).

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 1                     DOCUMENTS DESIGNATED AS CONFIDENTIAL
                   OR HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 2

 3          Defendants have designated the following materials cited or referred to in Oracle’s Trial
 4   Brief as Confidential or Highly Confidential – Attorneys’ Eyes Only:
 5
     TRIAL                                                                            CONF.
 6                                      DESCRIPTION
     EX. NO.                                                                         DESIGN.
 7                Expert Report of Scott D. Hampton.                              Highly
                                                                                  Confidential
 8                                                                                (by Rimini)
     PTX_0001 Email from Ravin to Chiu, Subject: Re: Orbitz 6.0.1 +               Highly
 9            6.0.1.310 patch software available for download from Siebel         Confidential
              FTP, bates labeled RSI02618681-RSI02618684                          (by Rimini)
10   PTX_0003 Rimini Street, Inc. First-Round Investment Funding                  Highly
              Opportunity Summary, bates labeled RSI00013001-                     Confidential
11            RSI00013002                                                         (by Rimini)
12   PTX_0004 Email chain from Dennis Chiu to Seth Ravin Subject: Re:             Highly
              Susan's Work Plan, bates labeled RSI02518800-                       Confidential
13            RSI02518804                                                         (by Rimini)
     PTX_0005 Email chain from Dennis Chiu to Seth Ravin Subject: Re:             Highly
14            Susan's Work Plan, bates labeled RSI02518800-                       Confidential
              RSI02518804                                                         (by Rimini)
15   PTX_0007 Email from Whittenbarger to Slarve, Subject: Re: Support            Highly
              Web Extract Admin Guide - Final, bates labeled                      Confidential
16            RSI00812295-RSI00812296                                             (by Rimini)
17   PTX_0010 Email from Baron to Chiu re Updates and Fixes Download -            Highly
              - Larger Test Successful, bates labeled RSI02626309-                Confidential
18            RSI02626311                                                         (by Rimini)
     PTX_0011 Email from Lester to Chiu, Subject: Re: Welcome to Rimini           Highly
19            Streetl, bates labeled RSI02123318-RSI02123320                      Confidential
20                                                                                (by Rimini)
     PTX_0013 Email from Baron to Chiu (ccing G Lester), Subject: Re:             Highly
21            PeopleTools 8.22 PeopleBooks CD, bates labeled                      Confidential
              RSI02626680-RSI02626683                                             (by Rimini)
22   PTX_0015 Email from Chiu to Hughes ect: Re: Moraine Park Technical           Highly
              College, bates labeled RSI02046869-RSI02046874                      Confidential
23
                                                                                  (by Rimini)
24   PTX_0016 Email from Chiu to G Lester, Subject: Moraine Park                  Highly
              Technical College, bates labeled RSI02131586-                       Confidential
25            RSI02131586                                                         (by Rimini)
     PTX_0017 Email from Dennis Chiu to George Lester copied to Beth              Highly
26            Lester Subject: Notes from Kick off Call with Correctional          Confidential
              Medical Svc, bates labeled RSI02548329-RSI02548330                  (by Rimini)
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                                                     2                        Case No. 2:10-cv-00106-LRH-PAL

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 1   PTX_0020 Email from Chiu to Lester copied to Ravin, Davivhick re           Confidential
              Updated Terms of Uses verbiage in CC, bates labeled               (by Rimini)
 2            RSI06666462-RSI06666465
     PTX_0022 Email chain from Dennis Chiu to Seth Ravin copied to              Highly
 3            George Lester, Thomas Shay Subject: Re: Fw: Authorization         Confidential
              to download [City of Eugene], bates labeled RSI00771937-          (by Rimini)
 4
              RSI00771941
 5   PTX_0023 Email from Rich Hughes to Seth Ravin re PeopleSoft                Highly
              Consulting Services, bates labeled RSI03232687-                   Confidential
 6            RSI03232701                                                       (by Rimini)
     PTX_0027 Email chain from Dennis Chiu to Seth Ravin copied to              Highly
 7            George Lester, Thomas Shay Subject: Re: GMAC Archives,            Confidential
 8            bates labeled RSI02404023-RSI02404024                             (by Rimini)
     PTX_0029 Email from Ravin to Metcalf, Subject: Re: Abilene ISD             Highly
 9            Proposal Question, bates labeled RSI03209167-                     Confidential
              RSI03209167                                                       (by Rimini)
10   PTX_0030 Email from Ravin to Charnock, Subject: Re: Checking In,           Highly
              bates labeled RSI03234802-RSI03234804                             Confidential
11
                                                                                (by Rimini)
12   PTX_0031 Email from Davichick to Carter Subject: RE: FW: Urgent            Highly
              Oracle Renewal!!!!!!!!!!!!!, bates labeled RSI03272123-           Confidential
13            RSI03272159                                                       (by Rimini)
     PTX_0033 Email from Chiu to Davichick cc Slepko, Subject: Fw:              Highly
14            Rimini Street Onboarding: Medtronic, Inc., Attachments:           Confidential
              Medtronic, Inc. - JDE Product Listing.xls, bates labeled          (by Rimini)
15            RSI03312378-RSI03312385
     PTX_0034 Email from Corpuz to Baron, Subject: Re: Quick JDE                Highly
16            Question, bates labeled RSI00463011-RSI00463011                   Confidential
17                                                                              (by Rimini)
     PTX_0035 Email from Ravin to Davichick, Subject: Re: Fw:                   Highly
18            RiminiStreet Contract- first redline version, Attachments:        Confidential
              Rimini Street.DOC, bates labeled RSI03001396-                     (by Rimini)
19            RSI03001413
     PTX_0036 Email from Michael Davichick to Jim Ward Subject: Re:             Confidential
20            RiminiStreet Contract- First redline version, bates labeled       (by Rimini)
              WENDYS-SUB00129-WENDYS-SUB00131
21   PTX_0037 Email from Whittenbarger to Chiu, Subject: Re: Fw:                Highly
              Harlequin Metalink3 Archive & Customer Connection to              Confidential
22            retire Nov 08, bates labeled RSI00843912-RSI00843920              (by Rimini)
     PTX_0038 Email from Chiu to Baron cc: Corpuz, Subject: Re:                 Highly
23            Harlequin, bates labeled RSI00343896-RSI00343900                  Confidential
24                                                                              (by Rimini)
     PTX_0040 Re: HCM100268 status update, bates labeled RSI03374594-           Highly
25            RSI03374599                                                       Confidential
                                                                                (by Rimini)
26   PTX_0041 Email from Tahtaras to Radtke, Subject: Re Dev                    Highly
              Environment Confusion (As Listed on the Intranet), bates          Confidential
27            labeled RSI03376355-RSI03376358                                   (by Rimini)
28
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 1   PTX_0042 Email from Whittenbarger to Chiu et al., Re: P3 - General     Highly
              Inquiry case #00003908 for XO Communications has been         Confidential
 2            assigned to Dennis Chiu, bates labeled RSI01041045-           (by Rimini)
              RSI01041046
 3
     PTX_0043 Email from Whittenbarger to suresh.k.karnala@xo.com Re:       Highly
 4            FW: Customer Communication SECOND NOTICE - XO                 Confidential
              Communications , bates labeled RSI00832449-RSI00832451        (by Rimini)
 5   PTX_0053 Email from Limburg to Williams Subject: Fw: VM                Confidential
              Installation , bates labeled RSI04083749-RSI04083750          (by Rimini)
 6   PTX_0056 Email from Davichick to Seigel and Cabada Re Changes          Highly
              requested to CKE Agreement, bates labeled RSI03258880-        Confidential
 7            RSI03258882                                                   (by Rimini)
 8   PTX_0057 Email from Williams to Chiu, Subject: Re: Build Priority      Highly
              List, bates labeled RSI01043833-RSI01043842                   Confidential
 9                                                                          (by Rimini)
     PTX_0059 Email from Chiu to Cabada, Subject: RE: Voice Message,        Highly
10            bates labeled RSI02125339-RSI02125346                         Confidential
11                                                                          (by Rimini)
     PTX_0060 Email from Freeman to Benge et al, Re: Fw: Big Lots -         Highly
12            environment issue, bates labeled RSI02229020-                 Confidential
              RSI02229024                                                   (by Rimini)
13   PTX_0063 Email from Williams to Chiu, Subject: Re: old software        Highly
              folder, bates labeled RSI01990917-RSI01990918                 Confidential
14
                                                                            (by Rimini)
15   PTX_0064 Email from Freeman to Williams Subject: Re: Tools and         Highly
              base app CD's no longer available on //rsi-                   Confidential
16            clsv01\shares\client_software\PeopleSoft, bates labeled       (by Rimini)
              RSI03784117-RSI03784120
17   PTX_0065 Email from Chris Limburg to Jon Royse copied to Ed            Confidential
              Freeman Subject: B&L, bates labeled RSI04026526-              (by Rimini)
18            RSI04026526
     PTX_0310 Email from Whittenbarger to Karnala Re: XO issue and          Highly
19            trouble shot, bates labeled RSI00833774-RSI00833775           Confidential
                                                                            (by Rimini)
20   PTX_2152 Email from Beth Lester to Dennis Chiu Re: Moraine Park        Highly
21            Technical College, bates labeled RSI02237456-                 Confidential
              RSI02237458                                                   (by Rimini)
22   PTX_4896 Email from Seth Ravin to Kasey Young copied to Brian          Highly
              O'Malley, Michael Brown Subject: RE: Rimini Street -          Confidential
23            Series A, bates labeled RSI00015016-RSI00015077               (by Rimini)
     PTX_4937 Email from R. Gaston to M. Davichick RE: Follow Up -          Highly
24
              Resources, bates labeled RSI03343827-RSI03343828              Confidential
25                                                                          (by Rimini)

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                   PLAINTIFFS ORACLE’S MOTION TO SEAL THEIR TRIAL BRIEF
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 1           For the foregoing reasons, Oracle respectfully requests that the Court find that good cause

 2   exists to file under seal the unredacted copy of the Trial Brief, and to issue an order sealing the

 3   same.

 4   DATED: September 9, 2015                      BOIES SCHILLER & FLEXNER LLP

 5

 6
                                                    By: /s/ Kieran P. Ringgenberg
 7                                                       Kieran P. Ringgenberg
                                                         Attorneys for Plaintiffs
 8                                                       Oracle USA, Inc., Oracle America, Inc.,
                                                         and Oracle International Corp.
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                                                       5                         Case No. 2:10-cv-00106-LRH-PAL

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 9th day of September, 2015, I electronically transmitted the

 3   foregoing PLAINTIFFS ORACLE’S MOTION TO SEAL THEIR TRIAL BRIEF to the

 4   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic

 5   Filing to all counsel in this matter; all counsel being registered to receive Electronic Filing.

 6

 7                                                     /s/ Kieran P. Ringgenberg
                                                     An employee of Boies, Schiller & Flexner LLP
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                                            CERTIFICATE OF SERVICE
